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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                              Plaintiff,                 Case No. MJ20-582

10          v.                                             DETENTION ORDER

11   JUAN MEJIA-MEJIA,

12                              Defendant.

13

14   Offenses charged:

15          Count 1:         Distribution of Methamphetamine in violation of 21 U.S.C. § 841(a)(1) and

16          § 841(b)(1)(A)

17   Date of Detention Hearing: On September 11, 2020, the Court held a hearing via a WebEx

18   videoconference, with the consent of Defendant, due to the exigent circumstances as outlined in

19   General Order 13-20. This detention order is without prejudice to renewing once the court has

20   reconstituted in-person hearings.

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22   based upon the reasons for detention hereafter set forth, finds:

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     DETENTION ORDER - 1
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 1         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         1.       There is a rebuttable presumption of detention pursuant to 18 U.S.C. § 3142(e).

 3         2.       Defendant stipulated to detention.

 4         3.       Defendant poses a risk of nonappearance due to the length of the sentence he faces

 5                  if he is convicted of the charged offense. Defendant poses a risk of danger due to

 6                  the nature and circumstances of the charged offense. Based on these findings, and

 7                  for the reasons stated on the record, there does not appear to be any condition or

 8                  combination of conditions that will reasonably assure the Defendant’s appearance

 9                  at future court hearings while addressing the danger to other persons or the

10                  community.

11         4.       Taken as a whole, the record does not effectively rebut the presumption that no

12                  condition or combination of conditions will reasonably assure the appearance of the

13                  Defendant as required and the safety of the community.

14         IT IS THEREFORE ORDERED:

15         (1)      Defendant shall be detained pending trial, and committed to the custody of the

16                  Attorney General for confinement in a correction facility separate, to the extent

17                  practicable, from persons awaiting or serving sentences or being held in custody

18                  pending appeal;

19         (2)      Defendant shall be afforded reasonable opportunity for private consultation with

20                  counsel;

21         (3)      On order of a court of the United States or on request of an attorney for the

22                  government, the person in charge of the corrections facility in which Defendant is

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 1                  confined shall deliver the defendant to a United States Marshal for the purpose of

 2                  an appearance in connection with a court proceeding; and

 3         (4)      The Clerk shall direct copies of this Order to counsel for the United States, to

 4                   counsel for the Defendant, to the United States Marshal, and to the United States

 5                   Pretrial Services Officer.

 6         Dated this 15th day of September, 2020.

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 9                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge
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     DETENTION ORDER - 3
